           Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 1 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
IN RE                                             §         CASE NO. 20-35493
                                                  §
1960 FAMILY PRACTICE                              §
DEBTOR                                            §
                                                  §
EVA S. ENGELHART, CHAPTER 7                       §
TRUSTEE                                           §         ADVERSARY NO. 22-03126
Plaintiff                                         §
v.                                                §
                                                  §
DOCTORS HOSPITAL 1997, L.P. D/B/A                 §
UNITED MEMORIAL MEDICAL                           §
CENTER                                            §
Defendant                                         §

    TRUSTEE’S REPLY TO UMMC’S RESPONSE TO THE TRUSTEE’S MOTION FOR
                      PARTIAL SUMMARY JUDGMENT

          Eva S. Engelhart, Chapter 7 Trustee files her Reply to UMMC’s Response to the Trustee’s
Motion for Summary Judgment and respectfully shows the Court the following:
RELEVANT BACKGROUND FACTS
1. On April 25, 2022, the Trustee sued UMMC for breach of contract of an Asset Purchase
      Agreement that required UMMC to pay all of the Debtor’s outstanding lease obligations
      (“Complaint”).
2. On June 13, 2022, UMMC filed its Answer to the Complaint. 1
3. On January 17, 2023, the Trustee filed a Motion for Summary Judgment on January 17, 2023
      (“Trustee’s MSJ”). UMMC also filed its Motion for Summary Judgment on January 17, 2023
      (“UMMC’s MSJ”).
4. On January 20, 2023, the Trustee filed her response to UMMC’s MSJ (“Trustee’s Response”).
5. On February 14, 2023, UMMC filed a combined pleading responding to the Trustee’s MSJ,
      and replying to The Trustee’s Response (“Combined Response”). 2



1
    Exhibit A (UMMC’s Answer to Complaint)
2
    Exhibit B (Combined Response filed by UMMC)

                                                  1
          Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 2 of 8




COURT’S ORDER ON MOTION TO AMEND
6. On February 19, 2023, after UMMC filed its Combined Response, the Trustee served UMMC
    with a safe harbor letter pursuant to Rule 11 and notified UMMC that its Combined Response
    violated Rule 11 (“Rule 11 Letter”). 3
7. In her Rule 11 Letter, the Trustee put UMMC on notice that its Combined Response violated
    an Agreed Order that the parties previously entered into that prohibited UMMC from 1)
    arguing the validity of the Landlord’s POC; and 2) arguing any new affirmative defenses that
    were not contained in its Answer (“Agreed Order”). 4
8. On March 6, 2023, in order to address the Rule 11 violations contained in the Rule 11 Letter,
    UMMC filed its Motion for Leave to Withdraw and Amend its Combined Response in order to
    address the Trustee’s Rule 11 allegations (“Motion to Amend”). 5
9. On April 10, 2023, the Court scheduled a hearing on UMMC’s Motion to Amend. At the
    hearing on UMMC’s Motion to Amend, the Court granted UMMC’s request to amend the
    Combined Response and specifically ordered UMMC to.
        a. File a separate responsive brief to the Trustee’s MSJ;
        b. File a separate response to the Trustee’s Response to UMMC’s MSJ; and
        c. Prohibited UMMC from making any substantive changes to the Combined Response.
             (“Order to Amend”) 6
10. Pursuant to the Order to Amend, UMMC filed its Amended Response to the Trustee’s MSJ
    (“Amended Response”) 7.
11. In its Amended Response, UMMC’s failed to comply with the Order to Amend in two ways:
        a. First, UMMC continues to argue both pleadings in violation of the Order to Amend.
             Specifically, in Paragraph 2 of its Amended Response, UMMC asserts five separate
             reasons why this Court should both 1) grant UMMC’s MSJ, and 2) deny the Trustee’s
             MSJ.




3
  Exhibit C (Rule 11 Letter and Proposed Motion for Sanctions)
4
  Exhibit D (Agreed Order)
5
  Exhibit E (UMMC’s Motion to Amend)
6
  Exhibit F (Order to Amend)
7
  Exhibit G (UMMC’s Amended Response)

                                                        2
            Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 3 of 8




           b. Second, UMMC made substantive changes to the Combined Response by adding 42
               paragraphs under Section III of its Amended Response (“42 Added Paragraphs”)
               which were not included in its Combined Response.
12. This Court clearly stated that failure to comply with the Court’s Order to Amend may result in
      striking UMMC’s Amended Response. Therefore, the Trustee requests that UMMC’s
      Amended Response be stricken for UMMC’s blatant failure to comply with this Court’s Order
      to Amend.

UMMC’S TRANSPARENT ATTEMPT TO INVOKE SYMPATHY FROM THE COURT
13. In Paragraph 1 of the Amended Response, UMMC alleges that it is a struggling small hospital
      that serves blue-collar workers and is unable to pay a judgment that the Trustee is currently
      seeking in this Adversary.
14. First, UMMC fails to provide this Court with a shred of evidence to support such an allegation.
15. Second, in an unrelated piece of litigation currently pending before this Court, UMMC
      admitted that it paid $1.5 million for the purchase of a hospital. 8 It is unclear how UMMC
      simultaneously claims that it cannot afford to pay a judgment for less than what UMMC has
      spent in acquiring new assets.
16. Finally, UMMC’s alleged inability to pay a judgment is irrelevant in responding to the
      Trustee’s MSJ.

UMMC’S NEWLY PLED AFFIRMATIVE DEFENSES ARE PROHIBITED AS                                    THEY   WERE NOT
INCLUDED IN ITS ANSWER
17. UMMC’s Answer to the Trustee’s Complaint included three affirmative defenses: a) Mistake;
      b) Impossibility of Performance related to failure to have the Leases assigned; and c) Trustee’s
      Failure to Mitigate Damages (“Included Affirmative Defenses”). 9
18. In UMMC’s Amended Response, UMMC now argues the following affirmative defenses that
      were not contained in its Answer: a) Failure of Consideration; b) Conditions Precedent; c)
      Excuse; d) Impossibility of Performance – regarding the Debtor’s failure to vacate the leased
      premises; e) Standing; f) Misrepresentation; and g) the Landlords (not the Trustee’s) Failure
      to mitigate damages (Collectively, referred to as the “Unpled Affirmative Defenses”)


8
    Exhibit H (Answer filed by UMMC on 6-17-2021 in Providence Litigation – Paragraph 43)
9
    Exhibit A (UMMC’s Answer to Trustee’s Complaint)

                                                        3
        Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 4 of 8




19. UMMC cannot plead new affirmative defenses in a Motion for Summary Judgment as the
   Unpled Affirmative Defenses were not included in its Answer.

UMMC VIOLATES AGREED ORDER
20. As discussed above, on January 12, 2023, this Court entered an Agreed Order which 1)
   estopped UMMC from challenging the merits of the Landlord’s POC; and 2) limited UMMC
   to those affirmative defenses that were included in its Answer (i.e. Included Affirmative
   Defenses).
21. After entering into the Agreed Order, UMMC filed a Motion to Amend its Answer in order to
   add affirmative defenses that they previously agreed would be prohibited. On February 27,
   2023 this Court entered an Order denying UMMC’s Motion for Leave to Amend its Answer
   (See Doc. No. 33)
22. In its Amended Response, UMMC continues to argue the Unpled Affirmative Defenses in
   violation of the Agreed Order, and after this Court denied its Motion to Amend its Answer.
23. On two separate occasions the Court has dealt with this issue and UMMC continues to argue
   affirmative defenses in violation of this Court’s orders.

ARGUMENTS AND AUTHORITIES SECTION OF UMMC’S AMENDED RESPONSE
24. Paragraphs 1 through 67 of the Amended Response contains numerous arguments and
   allegations that violate the Agreed Order and include the Unpled Affirmative Defenses.
25. However, in its Amended Response, UMMC organized the remaining portion of its response
   under Section IV, titled, “Argument and Authorities” (Paragraphs 68-73) (“Argument
   Section”).
26. In the Argument Section, UMMC makes four arguments in response to the Trustee’s MSJ:
       a. Section A - Construction of the APA
       b. Section B – Third Party Beneficiary Law
       c. Section C – Impossibility of Performance
       d. Second D – Trustee’s Damages are Limited to 30% of the Allowed Claim of the
          Landlord.

TRUSTEE’S RESPONSE TO SECTION A – CONSTRUCTION OF THE APA
27. In Section A (Paragraph 68) of the Amended Response, UMMC provides this Court with a
   total of two sentences and argues that the APA is not ambiguous and the Court should look to

                                                 4
        Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 5 of 8




   the four corners of the APA in order to interpret and enforce the APA. Frankly, the Trustee
   does not understand the purpose of this argument as UMMC fails to tie this legal argument to
   any facts.
28. Here, the Trustee never argued ambiguity and is unclear why UMMC is raising this argument
   in response to the Trustee’s MSJ as no facts are provided.

TRUSTEE’S RESPONSE TO SECTION B – THIRD PARTY BENEFICIARY LAW
29. In Paragraphs 69 through 71 of the Amended Response, UMMC argues that third-party
   beneficiary law precludes recovery by the Trustee.
30. However, the issue in this Adversary is breach of the APA, not breach of the leases with the
   Debtor’s landlord. Here, the Trustee is not a third-party beneficiary to the APA, as the Debtor
   was a party to the APA and the Trustee stands in the shoes of the Debtor.
31. In addition, pursuant to the Agreed Order, UMMC is estopped from challenging the validity
   of the Landlord’s allowed POC.
32. This argument regarding third-party beneficiary law is nothing more than a red herring and
   violates the Agreed Order.

TRUSTEE’S RESPONSE TO SECTION C – IMPOSSIBILITY OF PERFORMANCE
33. In Paragraph 72 of UMMC’s Amended Response, UMMC argues that it was impossible for
   UMMC to perform under the APA because it could not occupy the leasehold estates.
34. UMMC’s argument, regarding occupying the property, fails as this was not raised in UMMC’s
   Answer, and is prohibited by the Agreed Order.
35. UMMC also argues that it was impossible for it to perform under the APA (i.e. pay the lease
   payments) because of the Landlord failed to provide consent to the assignment of the Leases.
   This argument also fails.
36. The APA does not provide that that UMMC shall only pay the Debtor’s liabilities if they are
   assigned by the Landlord to UMMC. UMMC was required to pay all of the Debtor’s liabilities
   after the closing date with no conditions. Here, UMMC obtained the Debtor’s medical practice
   in exchange for relieving the Debtor of all of its liabilities under the leases. As evidenced by
   UMMC’s own admission, UMMC asserts in its affirmative defense of “Mistake” that it never
   intended to occupy the leased space.



                                                5
            Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 6 of 8




37. Furthermore, the APA merely required UMMC to use its reasonable best efforts to have the
       leases assigned and the evidence unequivocally shows that UMMC made zero efforts to have
       the Leases assigned to them by the Landlord.
38. Finally, the affirmative defense of Impossibility of Performance generally applies in three
       instances: 1) the death or incapacity of a person necessary for performance, 2) the destruction
       or deterioration of a thing necessary for performance; and 3) prevention by governmental
       regulation. Tractebel Energy Mktg., Inc. v. E.I. Du Pont de Nemours & Co., 118 S.W.3d 60,
       64 n. 6 (Tex.App.-Houston [14th Dist.] 2003, pet. denied).
39. Here, UMMC did not allege in its Answer or in its MSJ that it was impossible for it to perform
       under the APA due to death, destruction or governmental regulation.
TRUSTEE’S RESPONSE TO SECTION D – TRUSTEE’S DAMAGES ARE LIMITED TO 30%
40. In Paragraphs 5, 62, and 73 of the Amended Response, UMMC asserts that it is pleading in the
       alternative. UMMC states, “Alternatively, the Trustee only owns 30% of the Trustee’s claims
       against UMMC” and should therefore be limited to a 30% recovery.
41. UMMC argues that the Trustee does not have standing to bring 100% of the claim against
       UMMC based on the Sale Order entered by this Court.
42. UMMC’s argument fails for two reasons.
43. First, the Agreed Order prohibits UMMC for arguing the new affirmative defense of standing
       as it was not included in its Answer.
44. Second, this Standing Argument also fails as the agreement that was entered into between the
       Trustee and the Landlord (and was the basis of the Sale Order) was entered into by the parties
       in an effort to maximize the recovery to the estate. The Trustee and the Landlord entered into
       the agreement in order to combine efforts and prosecute both the estate’s claims and the
       Landlord’s claims against UMMC.
45. The Motion to Sell was approved and it provided that the estate would provide the landlord
       with 70% of any recovery the estate may receive in prosecuting the Estate’s Claim. So there
       was no confusion, the Trustee included an example in the Sale Agreement and Motion to Sell
       which states that if the Trustee should receive $1 million for prosecuting the entirety of the
       Estate’s Claims then the Landlord would be entitled to receive $700,000.00, should the Trustee
       prevail. 10

10
     Exhibit I (Motion to Sell); Exhibit J (Sale Order, including Sale Agreement, and CMECF Notice of both)

                                                          6
        Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 7 of 8




46. The Sale Agreement specifically provides that should the Trustee not recover anything from
   UMMC then the Landlord shall be entitled $0.00.
47. In summary, both parties agreed to seek full recovery of their own claim and subsequently
   divide the proceeds should they prevail.
48. The Order approving the Motion to Sell was entered prior to the date that UMMC filed its
   Answer and UMMC received a copy of the Court’s Order and had notice of both the Motion
   to Sell and the Order Approving Sale.
49. Furthermore, in the Adversary, the Trustee clearly laid out that she seeks to recover the total
   amount of the claim.
50. Finally and most importantly, either the Trustee or the Landlord is entitled to bring the entire
   breach of contract claim against UMMC. The issue of distribution on any potential proceeds
   has absolutely nothing to do with whether UMMC breached the APA and is therefore liable.
51. In summary, UMMC’s standing arguments fails both as a matter of law and because it violates
   the Agreed Order.

SUMMARY
52. Based upon this Court’s Agreed Order, UMMC was left to argue three affirmative defenses:
               i. First Affirmative Defense: Mistake;
               ii. Second Affirmative Defense: Impossibility of Performance related to failure to
                   have leases assigned; and
              iii. Third Affirmative Defense: Trustee’s Failure to Mitigate Damages.
53. In its Amended Response, UMMC failed to mention the First and Third Affirmative Defenses
   of Mistake and the Trustee’s Failure to Mitigate Damages.
54. The only affirmative defense that UMMC was allowed to argue was the affirmative defense of
   Impossibility, and failed to provide this Court with a basis to grant summary judgment.
55. In summary, the Trustee requests that this Court deny UMMC’s Amended Response because
   the Amended Response a) violated the Court’s Order to Amend; b) violated the Agreed Order;
   c) flies in the face of this Court’s order denying UMMC’s motion to amend its Answer; and d)
   failed to properly plead and attach sufficient evidence to support its only affirmative defense
   that remained and was actually argued in response to the Trustee’s MSJ.

Dated: April 16, 2023


                                                 7
       Case 22-03126 Document 51 Filed in TXSB on 04/16/23 Page 8 of 8




                                               Respectfully submitted,
                                               By: /s/ Miriam Goott
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                                      8
